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        2.      Assignment and Assumption.

             a. Assignment and Assumption. On the Closing Date, Assignor assigns to Assignee all of Assignor’s right,
title and interest in and to the License Agreement and Ancillary Agreements for the Licensed Business and Assignee
irrevocably and absolutely assumes each and every duty and obligation of Assignor which, in whole or in part, relates to the
operation of the Licensed Business (the “Assignment”). Without limiting the foregoing, Assignee hereby becomes obligated
upon all promissory notes of Assignor, if any, to Licensor, and hereby also becomes the debtor under any Security
Agreement, and in furtherance thereof, grants to Licensor a security interest in the Collateral (as defined in the License
Agreement), all as if Assignee had been the original debtor under the Security Agreement.

           b. Consent to Assignment. Licensor consents to the Assignment subject to the terms and conditions stated in
this Agreement. Licensor's consent to the Assignment is expressly conditioned upon the following:

               i.    Successful completion of any training required by Licensor;
              ii.    By no later than the Closing Date, Licensor’s receipt of any or all of the following, as required by
        Licensor:
                                   (a)    the Confidentiality/Covenant Not to Compete Agreement attached hereto as
                           Exhibit A;

                                   (b) the Guaranty and Assumption of Licensed Operator’s Obligations attached hereto
                           as Exhibit B;

                                   (c)    the General Release attached hereto as Exhibit C;

                                   (d)    the SBA Addendum attached hereto as Exhibit D; and

                                   (e) a copy of the executed lease assignment or consent from the landlord to be attached
                           hereto as Exhibit E.

             iii.   Execution of this Agreement and compliance with each and every condition, requirement and
        undertaking in this Agreement.

        4.      Transfer Fee. Licensor has agreed to waive the Transfer Fee.

        5.       Representations and Warranties. Assignor and Assignee represent and warrant to Licensor that the
respective statements in this Section 5 are correct and complete as of the Closing Date and understand that Licensor will rely
upon these statements:

            a. Assignor and Assignee each have the power and authority to execute and deliver this Agreement and
perform their respective obligations hereunder and that such performance will not result in breach, or constitute a default
under, any agreement to which Assignor or Assignee is a party or has an obligation.

           b. The Assignment is subject to the consent of Licensor and any third party (including any landlords)
needed to make the Assignment effective and enforceable.

            c. The Asset Purchase Agreement, or any such similar document, between Assignor and Assignee does not
convey or in any way encumber any of Licensor’s intellectual property (including the Pearle Vision Marks or System as
those terms are defined in the License Agreement).

             d. If Assignee has granted Assignor or any other party lending money to Assignee a security interest in any
of the assets being conveyed (a “Secured Party”), Assignee affirms that the security interest conforms to the following: (i)
the security interest is subordinate to and ranks junior in all respects to any interest in favor of Licensor; (ii) the Secured
Party has no right to foreclose any security interest or otherwise exercise its rights without Licensor’s prior written
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